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 8
                        UNITED STATES DISTRICT COURT
 9
                      CENTRAL DISTRICT OF CALIFORNIA
10

11   OCM GROUP USA INC.,                    Case No. 2:19-cv-08917 SB (KSx)
12
                             Plaintiff,DECLARATION OF BRANDON J.
13                                     WITKOW IN SUPPORT OF
          vs.                          MOTION FOR SUMMARY
14
                                       JUDGMENT ON PLAINTIFF’S
15   LIN’S WAHA INTERNATIONAL COMPLAINT; OR, IN THE
     CORP, a New York corporation; and ALTERNATIVE, SUMMARY
16
     DOES 1-10.                        JUDGMENT ON PLAINTIFF’S
17                                     CLAIM FOR MONETARY
18                      Defendant.     DAMAGES

19                                          Hearing:
20
                                            Date: March 5, 2021
21                                          Time: 8:30 a.m.
22                                          Ctrm: 6C

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                          DECLARATION OF BRANDON J. WITKOW
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1                     DECLARATION OF BRANDON J. WITKOW
2          1.     I am over 21 years of age and competent to testify. I am an attorney at
3    witkow | baskin, counsel to Defendant Lin’s Waha International Corp. (“Defendant”)
4    in the above-captioned matter. I provide this declaration in support of Defendant’s
5    Motion for Summary Judgment (“MSJ”). Based on my responsibilities and my own
6    involvement in the facts and circumstances described below, I have personal
7    knowledge of the facts set forth herein which I know to be true, except as to the
8    matters that are stated on my information and/or belief, and as to those matters, I
9    believe them to be true.
10         2.     On June 8, 2020, my office served Plaintiff OCM Group USA Inc.’s
11   counsel, Jeff Lee, by electronic mail, with Defendant’s Request for the Production of
12   Documents [Set One] (“RFPs”). On August 11, 2020, Plaintiff served their original
13   verified response to the RFPs, a true and correct copy of the relevant pages of which
14   is attached hereto as Exhibit 1.
15         3.     On September 14, 2020, my office served Plaintiff OCM Group USA
16   Inc.’s counsel, Jeff Lee, by electronic mail, with Defendant’s Request for the
17   Production of Documents [Set Two]. On October 28, 2020, Plaintiff served their
18   original verified response to these RFPs, a true and correct copy of the relevant pages
19   of which is attached hereto as Exhibit 2.
20         4.     On September 14, 2020, my office served Plaintiff OCM Group USA
21   Inc.’s counsel, Jeff Lee, by electronic mail, with Defendant’s Special Interrogatories
22   [Set Two] (“Rogs”). On October 28, 2020, Plaintiff served their original verified
23   response to the Rogs, a true and correct copy of the relevant pages of which is
24   attached hereto as Exhibit 3.
25         5.     Attached hereto as Exhibit 4 is a true and correct copy of Plaintiff’s Fed.
26   R. Civ. Proc. 26(e) [Supplemental] Initial Disclosures.
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                                DECLARATION OF BRANDON J. WITKOW
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1          6.     Attached hereto as Exhibit 5 is a true and correct copy of the document
2    produced by Plaintiff (bates numbered OCM 001) entitled “OCM Summary of
3    Profit/Loss,” referenced in Plaintiff’s Responses to Special Interrogatory number 5
4    (attached as Exhibit 3), and Plaintiff’ Supplemental Initial Disclosures (attached as
5    Exhibit 4). This document was originally designated as Attorneys’ Eyes Only under
6    the terms of the Protective Order in this matter [Dkt. # 24]. Counsel for Plaintiff has
7    withdrawn this designation.
8          7.     Attached hereto as Exhibit 6 is a true and correct copy of the “Products
9    Distribution Agreement,” dated July 1, 2018, by and between XiangPiaoPiao Food
10   Co., Ltd. and Plaintiff OCM Group USA, Inc. produced by Plaintiff (without bates
11   number) in this action.
12         8.     Attached hereto as Exhibit 7 are true and correct copies of invoices
13   produced by Plaintiff (bates numbered OCM 003-006), referenced in Plaintiff’s
14   Supplemental Initial Disclosures (attached as Exhibit 4). These documents were
15   originally designated as Attorneys’ Eyes Only under the terms of the Protective Order
16   in this matter [Dkt. # 24]. Counsel for Plaintiff has withdrawn this designation. I
17   have reviewed Plaintiff’s document production and Plaintiff has produced no
18   evidence of: (a) any overlap between its customers and any of Defendant’s customers,
19   as identified in Exhibit 5 to the Xiuqing Lin Declaration, filed concurrently herewith,
20   (b) any evidence of any sales it has lost from any current or potential customers as a
21   result of Defendant’s sales, nor (c) any evidence whatsoever that it has penetrated the
22   market in the vast majority of states in which Defendant sold the Products at Issue,
23   namely: Michigan, Pennsylvania, Indiana, Massachusetts, Alabama, Florida, Illinois,
24   New Jersey, Nebraska, Ohio, Wisconsin, Kansas, Georgia, and Louisiana.
25   Furthermore, Plaintiff has produced no documents reflecting any actual loss of
26   revenue and/or goodwill as a result of Defendant’s alleged actions.
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                               DECLARATION OF BRANDON J. WITKOW
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1          9.     Attached hereto as Exhibit 8 are true and correct copies of the following
2    declarations produced by Plaintiff (without bates number): (a) Declaration of Zhijiz
3    Wang of Skyfoods in Flushing, New York, dated September 8, 2020, and (b)
4    Declaration of Zhanglin Li of Gold City Supermarket in Flushing, New York, dated
5    September 8, 2020. I have reviewed Plaintiff’s document production and Plaintiff has
6    never produced invoices reflecting any sales to Skyfoods or Gold City Supermarket,
7    including the particular products sold or the volume of any such sales.
8          10.    Attached hereto as Exhibit 9 is a true and correct copy of a chart I
9    created for this Court’s reference entitled “Comparison of Products,” which provides
10   a visual comparison of the following Products at Issue in this dispute: (a)
11   XIANGPIAOPIAO Teas: Dasheen [Taro] Milk Tea, Strawberry Milk Tea, Wheat
12   Milk Tea, Original Milk Tea; (b) MECO Teas: Kumquat & Lemon, Thai Lime, Peach
13   & Pink Grapefruit & Milk Tea; and (c) LAN FONG YUEN Milk Tea (together, the
14   “Products at Issue”).
15         11.    Specifically, I have pasted the following photographs taken by XiuQing
16   Lin and Linpan Deng, respectively, as to the Products at Issue and authenticated in
17   their respective declarations, filed concurrently herewith: (a) images of each of the
18   Products at Issue as sold by XiangPiaoPiao Food Co., Ltd. and Lan Fong Yuen Food
19   Co., Ltd., who are original registrants of the trademarks at issue in the Complaint, in
20   various Chinese markets (see Declaration of Linpan Deng, ¶¶ 7-8, Exhs. 2-3), (b)
21   images of each of the Products at Issue as sold by Plaintiff in its catalog, at SkyFoods
22   in Flushing, New York and produced in response to document requests of Defendant
23   (see Declaration of XiuQing Lin, ¶¶ 11 & 13, Exhs. 2 & 4; Witkow Decl., ⁋ 13, Exh.
24   11 hereto), and (c) images of each of the Products at Issue as sold by Defendant in its
25   catalog and to its customers (see Declaration of XiuQing Lin, ¶¶ 10 & 12, Exhs. 1 &
26   3).
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1          12.    On December 18, 2020, my office served Plaintiff OCM Group USA
2    Inc.’s counsel, Jeff Lee, by electronic mail, with Defendant’s Request for the
3    Production of Documents [Set Three]. On January 22, 2021, Plaintiff served their
4    original verified response to these RFPs, a true and correct copy of the relevant pages
5    of which is attached hereto as Exhibit 10.
6          13.    Concurrent with service of their responses, Plaintiff also delivered a
7    supplemental production of documents. Included within these documents are several
8    photographic images of Plaintiff’s Products at Issue. Attached hereto as Exhibit 11
9    are certain images of the Products at Issue produced by Plaintiff. These images are
10   also included within the OCM Product column of the Comparison Chart, attached
11   hereto as Exhibit 9.
12         I declare under penalty of perjury under the laws of the United States of
13   America that the foregoing is true and correct and that this was executed on January
14   28, 2021, at Los Angeles, California.
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                                    /s/ Brandon J. Witkow
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                                      Brandon J. Witkow
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                             DECLARATION OF BRANDON J. WITKOW
